                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI
                                  SOUTHERN DIVISION


GUADALUPE ADAMS, Individually,          :
                                        :
             Plaintiff,                 :
                                        :
v.                                      :             Case No. 6:15-cv-3274
                                        :
GRACE HOSPITALITY PROPERTIES, LLC       :
A Domestic Limited Liability Company    :
             Defendant                  :
_______________________________________ :

                                             ORDER

       Before the Court is the Joint Stipulation of Full and Final Dismissal with Prejudice. (Doc.

No. 27). The parties have agreed to the dismissal of prejudice of this action, with each party to

bear their own attorneys’ fees and costs.

       Wherefore, after a review of the Stipulation and the record before the Court, the Court

Orders that this case is hereby DISMISSED in its entirety, with prejudice, each party to bear

their own respective attorneys’ fees and costs.



IT IS SO ORDERED.

Date: October 28, 2015                       __/s/ Douglas Harpool________________
                                             DOUGLAS HARPOOL
                                             UNITED STATES DISTRICT JUDGE




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